Case 6:17-cr-00018-PGB-KRS Document 165 Filed 12/22/17 Page 1 of 3 PagelD 1650

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION

UNITED STATES OF AMERICA,

Vv.

Plaintiff, O
Government

NOOR ZAHI SALMAN

Defendant OU

Case No. 6:17-cr-18-Orl-40KRS

O Evidentiary

O) Trial

Other — Suppression Hearing

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

EXHIBIT LIST
Exhibit Date Sponsoring
Number | Date Identified Admitted Witness Description of Exhibit
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1A (2/21 } IF iv| 21] I7 R 911 Call from Mateen (audio)
IB RAINY 911 Call from Mateen (transcript);
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POM) Composite Video from inside Pulse
2 lala Au | Gano Night Club
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Andrew) Recording by Victim inside Pulse Night
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EXHIBIT LIST - Continuation Sheet

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Exhibit Date Sponsoring
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enn BreNNGxn — | Club (transcript); 00182530-00182544
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17 iwu\w"n r\ulrorT Cash 00114733, 00114761, 00121201,
00121205, 00121386, 00121426
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9 UNA | rfali Hou Entries; 0006805 1-00068082
Cnvisyopher Two Consent to Search Forms;
20 IL[U\eort frafrujrod Mays 00186072-00186073
21 uuUlroir wIt|r%wn Sid. Advice of Rights Form; 00124726
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22 ; Consent to Interview with Polygraph
reulr~ory | A\ON | Ea quer Form; 00124727
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EXHIBIT LIST - Continuation Sheet

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Exhibit Date Sponsoring
Number Date Identified Admitted Witness Description of Exhibit
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24 Photographs of the Fort Pierce FBI
Z}A\tort jjalton |” Maye Office; 00186074-00186082
Spreadsheet of Selected Activity on
25 Salman and Mateen’s Phones;
00186101-00186103
Pas. Map of :
p of Pulse Night Club and
- elu }to Muywn Cashnwo Surrounding Areas
Search Warrant for 2513 S. 17th Street,
ZY Apartment 107, Fort Pierce, FL 34982,
Case No. 6:16-mj-1284
Defendant's Response to the
28 Government’s Motion for Order
Revoking Defendant’s Release; Doc 22

 

 
